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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,                         CASE NO: 07-20625-08

v.                                         DISTRICT JUDGE THOMAS L. LUDINGTON
                                           MAGISTRATE JUDGE CHARLES E. BINDER
JOSHUA LYNN MECOMBER,

        Defendant.
                                   /


                   MAGISTRATE JUDGE’S REPORT, FINDINGS AND
                 RECOMMENDATION CONCERNING PLEA OF GUILTY


I.      REPORT AND FINDINGS

        On March 25, 2009, this Defendant was referred to the undersigned Magistrate Judge

pursuant to 28 U.S.C. §§ 636(b)(1(B) and 636(b)(3) for purposes of receiving, on consent of the

parties, Defendant’s offer of a plea of guilty. The Defendant, along with counsel, appeared before

me on March 25, 2009. In open court and on the record I examined the Defendant under oath. I

confirmed the Defendant’s consent, and then advised and questioned the Defendant regarding each

of the inquiries prescribed by Rule 11(b) of the FEDERAL RULES OF CRIMINAL PROCEDURE.

Based upon the Defendant’s answers and demeanor, I HEREBY FIND 1) that the Defendant is

competent to tender a plea, 2) that Defendant’s plea was knowingly, intelligently made, and 3) that

the plea is supported by an independent basis in fact containing each of the essential elements of

the offense to which he pled. Therefore, I have ordered the preparation of a presentence

investigation report.
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II.      RECOMMENDATION

         For the reasons set forth above, IT IS RECOMMENDED that subject to the Court’s

consideration of the plea agreement pursuant to Rule 11(c) of the FEDERAL RULES OF CRIMINAL

PROCEDURE, the Defendant be adjudged guilty and have sentence imposed.



III.     REVIEW

         The parties to this action may object to and seek review of this Report and Recommendation

within ten (10) days of service of a copy hereof as provided for in 28 U.S.C. § 636(b)(1). Failure

to file specific objections constitutes a waiver of any further right of appeal. Thomas v. Arn, 474

U.S. 140, 106 S. Ct. 466, 88 L. Ed.2d 435 (1985); Frontier Ins. Co. v. Blaty, 454 F.3d 590, 596

(6th Cir. 2006); United States v. Sullivan, 431 F.3d 976, 984 (6th Cir. 2005). The parties are

advised that making some objections, but failing to raise others, will not preserve all the objections

a party may have to this Report and Recommendation. McClanahan v. Comm’r of Social Security,

474 F.3d 830, 837 (6th Cir. 2006); Frontier Ins. Co., 454 F.3d at 596-97. Pursuant to E.D. Mich.

LR 72.1(d)(2), a copy of any objections is to be served upon this Magistrate Judge.



                                                        C
                                                    s/ harles`     EB inder
                                                   CHARLES E. BINDER
Dated: April 7, 2009                               United States Magistrate Judge



                                         CERTIFICATION

       I hereby certify that this Report and Recommendation was electronically filed this date,
electronically served on Shane Waller and William Hackett,, served on Pretrial Services and the
Bay City Probation Department by other electronic means, and served on District Judge
Ludington in the traditional manner.

Date: April 7, 2009                  By    s/Jean L. Broucek
                                     Case Manager to Magistrate Judge Binder
